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9
10                        IN THE UNITED STATES DISTRICT COURT
11                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,                 Case No. 2:21-cr-00941-SB
                                               Hon. Stanley Blumenfeld, Jr.
14          Plaintiff,
15   v.                                        HON. JEFFREY LANE
                                               FORTENBERRY’S REPLY TO
16   JEFFREY FORTENBERRY,                      OPPOSITION TO MOTION TO
17          Defendant.                         DISQUALIFY AUSA MACK JENKINS

18                                             Hearing Date: Dec. 14, 2021
19                                             Hearing Time: 8:30 a.m.
20                                             Indictment: Oct. 19, 2021
21                                             Pretrial Conference: Feb. 8, 2022, 8:00 a.m.
                                               Trial: Feb. 15, 2022, 8:30 a.m.
22                                             Last Day: Mar. 2, 2022
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 1 I.      INTRODUCTION
 2         AUSA Mack Jenkins’ insistence on advocating this case to the jury puts a lot at
 3 stake; most importantly, Congressman Jeff Fortenberry’s constitutional rights as the
 4 defendant. Insofar as AUSA Jenkins’s role as an advocate would deprive Congressman
 5 Fortenberry of the opportunity to call him as a witness, this includes, of course, the
 6 Congressman’s Sixth Amendment rights of confrontation and compulsory process. See
 7 United States v. Prantil, 764 F.2d 548, 552 (9th Cir. 1985). In addition, preventing
 8 prosecutors from violating the advocate-witness rule and the related due process-based
 9 prohibition against vouching are matters of “‘institutional concern implicating the basic
10 foundations of our system of justice.’” United States v. Edwards, 154 F.3d 915, 922 (9th
11 Cir. 1998) (quoting Prantil, 764 F.2d at 553). AUSA Jenkins’s unavailability to be called
12 as a witness by the defense and his advocacy despite personal knowledge of critical
13 disputed facts would jeopardize these weighty constitutional guarantees. It also raises an
14 unnecessary mistrial danger, because, among other reasons, AUSA Jenkins would
15 effectively be advocating that the jury convict the Congressman for—according to
16 Jenkins’s evident personal belief—lying to his face. Even that mere insinuation would
17 powerfully, but impermissibly, lead jurors to consider the possibility that Jenkins’s
18 argument is based on personal knowledge beyond the evidentiary record. See Edwards,
19 154 F.3d at 921–22 (noting that the prosecutor’s involvement in the development of the
20 evidence “necessarily advised the jury that he personally believed” the inference the
21 government was arguing from that evidence and cautioning that, when credibility is
22 crucial, “improper vouching is particularly likely to jeopardize the fundamental fairness of
23 the trial”). Why invite these dangers of a constitutional violation?
24         One apparent reason is that AUSA Jenkins spent years overseeing and directing the
25 investigation that led to this indictment. This helps explain the strong feelings animating
26 the government’s baseless allegations that Fortenberry’s disqualification motion is
27 frivolous gamesmanship. Ironically, AUSA Jenkins’s high degree of personal investment
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 1 in the case and the government’s flair for dramatic claims only point more strongly to the
 2 elevated danger of vouching in this trial.
 3         The government’s opposition significantly understates what is, in fact, a compelling
 4 need for the defense to use AUSA Jenkins’s testimony. Most obviously, no other witness
 5 has Jenkins’s personal knowledge—as the lead prosecutor in this case—of how
 6 Congressman Fortenberry’s statements did or did not “affect[]” that Investigation, so as to
 7 make the statements “material” or not under 18 U.S.C. § 1001. Ninth Circuit law is clear
 8 that the government cannot preclude Congressman Fortenberry’s access to AUSA
 9 Jenkins’s unique personal knowledge by electing to have Jenkins serve as an advocate.
10 See Prantil, 764 F.2d at 554 (“Surely the reasoning behind the advocate-witness rule does
11 not contemplate that a material witness will be able to exempt himself from the rigours of
12 the fact-finding process by electing to proceed as an advocate.”).
13         The government’s opposition also indicates failure to appreciate the vouching that
14 would inevitably result from AUSA Jenkins’s advocacy. The Court should disqualify
15 AUSA Jenkins now, with plenty of time for the government to replace him, rather than
16 accede to his insistence on a trial that will otherwise be laden with serious constitutional
17 issues.
18 II.     ARGUMENT
19         A.    The defense has a compelling need for Mack Jenkins’s testimony.
20         The Court should be skeptical of AUSA Jenkins’s claims that his testimony is not
21 helpful to the defense and other witnesses are adequate substitutes. See Opp. at 5–6, 6 n.4;
22 Dkt. No. 28 at 7–8 of 12 (CM/ECF pagination). In Prantil, the Ninth Circuit saw through
23 similarly thin government objections. There, as here, the prosecutor was a witness to, and
24 participant in, “some aspect of all of the events alleged” to satisfy the elements of the
25 Indictment’s charges. 764 F.2d at 551. There, as here, the prosecutor refused to recuse
26 himself or testify, “defend[ing] his decision . . . on the grounds that his testimony was
27 unnecessary and cumulative to the defendant’s case.” Id. In Prantil, the Ninth Circuit
28 rejected the prosecutor’s argument that the defendant could get adequate alternative
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 1 testimony from an FBI agent who had listened to “some, but not all, of the relevant
 2 discussions.” Id. at 552. This Court should reject that argument in this case, too, for the
 3 reasons set forth below.
 4         As noted in Congressman Fortenberry’s disqualification motion; see Motion at 5;
 5 Dkt. No. 21 at 7 of 11 (CM/ECF pagination); in a prosecution under 18 U.S.C. § 1001, “a
 6 factual inquiry” by the jury is “nearly always . . . necessary to determine what makes a
 7 difference to the decision-making body” for purposes of the materiality element. United
 8 States v. Gaudin, 28 F.3d 943, 948 (9th Cir. 1994), aff’d, 515 U.S. 506 (1995). As the lead
 9 prosecutor who directed the investigation in this case, AUSA Jenkins is the “decision-
10 making body.”
11         The government overlooks Prantil’s instruction that the “quality and quantity of the
12 alternate sources of evidence are proper subjects for comparison with [the testimony]
13 sought directly from the participating prosecutor.” 764 F.2d at 551–52. While the
14 government is correct that the U.S. Attorney’s Office (“USAO”) worked with the Federal
15 Bureau of Investigation (“FBI”) and Internal Revenue Service (“IRS”) on the Federal
16 Investigation at issue in this case, AUSA Jenkins was the leader of the pack, and the
17 decisionmaker. The government contends “at least two FBI agents and one IRS agent”
18 and could introduce “voluminous documents” about the Investigation’s activities, see Dkt.
19 No. 28 at 5–6. But none of those agents could testify about how AUSA Jenkins viewed
20 the evidence obtained in the investigation, including Congressman Fortenberry’s
21 statements, and how those statements influenced AUSA Jenkins’s decisions. None appear
22 to have had the authority to take major actions unilaterally. Nor could any of them
23 negotiate on behalf of the government or bind the government to the deferred-prosecution
24 agreements that AUSA Jenkins provided to other individuals. See Motion to Disqualify at
25 6; Dkt. No. 21 at 8 of 11 (CM/ECF pagination).
26         So this case is really nothing like United States v. Dupuy, 760 F.2d 1492 (9th Cir.
27 1985), the government’s first and leading “example” of how the government says courts
28 regularly deny motions like this one. See Opp. at 3, Dkt. No. 28 at 5 of 12. In Dupuy, 760
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 1 F.2d at 1497–98, defense counsel sought to call a prosecutor to the stand only to impeach
 2 another witness in a trial in which there was already “approximately two weeks” of
 3 testimony impeaching that witness. Here, of course, Mack Jenkins is not an impeachment
 4 witness at all. United States v. Robles, 5 F.3d 543 (9th Cir. 1993), also cited by the
 5 government on the same page of its brief, is inapposite for the same reason. The
 6 government relies on United States v. Tamura, 694 F.2d 591, 601 (9th Cir. 1982), too;
 7 Opp. at 2, Dkt. No. 28 at 4 of 12; which Prantil distinguished in like fashion: “The district
 8 court . . . was not faced with a defense request to place the participating prosecutor on the
 9 stand for purposes of duplicative impeachment.” 764 F.2d at 552. United States v. Bin
10 Laden, 91 F. Supp. 2d 600, 622 (S.D.N.Y. 2000), also cited by the government in
11 opposition, is distinguishable, as well, because there, the charges did not make the
12 government’s case dependent on the defendants’ statements affecting investigations that
13 the prosecutors in question were leading. United States v. Watson, 87 F.3d 927, 932 (7th
14 Cir. 1996), quoted by the government on page 8 of its brief, is not even a case in which
15 the defense sough to call the prosecutor to testify; it is a reversal of a suppression order
16 remanding for the district court to give the government a fair suppression hearing.
17         In stark contrast to the scenarios presented in the government’s cases, here, the
18 defense needs to elicit testimony from AUSA Jenkins on, among other things, (1) his
19 advance knowledge of the answers to the questions that he asked Congressman
20 Fortenberry, (2) Jenkins’s preparation before the Washington, D.C., interview to test
21 whether Fortenberry’s answers would match the insinuations Fortenberry received
22 thirteen months before in the 2018 call from Individual H, and (3) the timeline of his
23 decisions on how to charge and resolve cases against the Investigation’s various other
24 targets. These questions and answers are essential to any meaningful testing of the
25 element of materiality and the Indictment’s central allegation that Fortenberry’s
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 1 statements “affect[ed]” Jenkins’ Investigation. 1 The discovery documents provide no
 2 comparable quality of evidence to AUSA Jenkins’s live testimony on the stand under
 3 cross examination. 2
 4           The government’s insinuation that AUSA Jenkins’s testimony on these topics
 5 would not be helpful to the defense, see Opp. at 6 n.4, recalls Prantil yet again:
 6           The irony to which the [advocate-witness] rule was subjected should have
             been apparent from the very nature of the prosecutor’s posture before the
 7
             court. Invoking the “compelling need” standard, the witness, as an adversary,
 8           dutifully informed the court that in his opinion his testimony was of no value
             to his opponent's case. Despite defense counsel’s objections to the contrary,
 9
             the trial court, without comment, ratified the prosecutor’s perspective on the
10           exculpatory value, not the admissibility, of his own testimony.
11 Prantil, 764 F.2d at 554. As Prantil instructs, the Court should not defer to AUSA
12 Jenkins’s self-serving characterization of the relative importance of his own testimony.
13 And, for the reasons above, the Court should not accept the government’s half-hearted
14 allusions to documents, an FBI agent, and an IRS agent as comparable alternate sources.
15 After all:
16       Regardless of the prosecutor’s view of the utility of his own testimony, the
17           district judge is charged with the responsibility of making determinations as
             to the materiality of witness testimony. In so doing, the court must honor the
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20   1
             This is true regardless of whether the government argues an actual effect or whether
21   it falls back on the “capable of affecting” theory. Even if the government could present a
     “capable of affecting” theory of materiality to the jury in a trial of this Indictment—which
22   it cannot constitutionally do, see Reply to Gov.’s Consolidated Opp. to Motions to
23   Dismiss, Dkt. No. 34, at 2–3 of 4—evidence that AUSA Jenkins was not, in fact,
     influenced by Congressman Fortenberry’s statements is admissible to rebut the claim that
24   the statements were even “capable of influencing” the Federal Investigation.
25   2
          Meanwhile, the government is actively refusing the defense’s requests to turn over
   internal USAO and FBI communications concerning the materiality of Congressman
26
   Fortenberry’s statements. See Dkt. No. 30 at 9. This, among other circumstances,
27 distinguishes our case materially from United States v. Schwartzbaum, 527 F.2d 249 (2d
   Cir. 1975), cited by the government on page 3 of its Opposition. In Schwartzbaum, 527
28
   F.2d at 253, the memorandum at issue was available
                                                5        to the defense.
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 1         defendant’s constitutional rights under the confrontation and compulsory
           process clauses of the Sixth Amendment.
 2
 3 Prantil, 764 F.2d at 552.
 4         B.    The government misunderstands vouching and Edwards.
 5         The government’s opposition either misunderstands or seriously undervalues the
 6 danger of prosecutorial vouching. See Edwards, 154 F.3d at 921–22. While in this case, of
 7 course, AUSA Jenkins did not personally unearth physical evidence linking the defendant
 8 to contraband, the government reads Edwards far too narrowly. As Edwards’s explanation
 9 of its holding teaches, the risk of vouching is elevated wherever the prosecutor has
10 personal knowledge of important disputed facts. And that is the situation here. Vouching
11 in violation of Edwards is all but inevitable because of Jenkins’s personal control of the
12 Federal Investigation and the fact that he would be advocating to the jury, in effect, that
13 Congressman Fortenberry personally betrayed him by sitting down at the table with him
14 and lying to him.
15         Thus, while Edwards, 154 F.3d at 921, expressly forbids prosecutors from
16 imparting personal beliefs about the credibility of witnesses in general, here, the
17 prejudicial effect on the defense is even more severe because the prosecutor’s
18 participation strongly implies beliefs about the credibility of the defendant himself. This
19 also impairs Fortenberry’s constitutional right to testify. In addition, where the prosecutor
20 is heavily integrated in developing the facts, as here, Edwards instructs that vouching
21 occurs merely by the advocate-witness’s “continu[ing] to play the role of objective
22 prosecutor.” Id. at 922. Under these circumstances, the prosecutor’s performance as
23 advocate serves as an “implicit guarantee to the jury” that the government’s account of
24 what happened is “credible, honest” and “to be believed.” Id.
25         Though the government likens this case’s vouching issue to United States v.
26 Sayakhom, 186 F.3d 928, 944 (9th Cir.), amended, 197 F.3d 959 (9th Cir. 1999), it, too,
27 presents key materially distinguishing features. In Sayakhom, the prosecutor’s relevant
28 involvement in developing the facts was limited to warning the defendant to stop selling
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 1 insurance without proper state approval, which the government offered as evidence of the
 2 defendant’s knowledge that her conduct was illegal. 186 F.3d at 944. And the reason the
 3 prosecutor did not commit vouching was that his questioning of a witness to the warning
 4 did not impart any belief in that witness’s credibility. Id. at 944–45. The prosecutor’s
 5 giving of the warning was undisputed. See id. at 944. Here, in contrast, AUSA Jenkins’s
 6 advocacy to the jury of the strongly disputed proposition that Congressman Fortenberry
 7 lied to him personally will encourage the jury to defer to him because he has personal
 8 knowledge of facts beyond the admitted evidence. (The Sayakhom trial “court [also]
 9 stated that it would permit the defense to call [the prosecutor] in question as a witness to
10 test the accuracy” of the other evidence of the events in question, id. at 944, an
11 opportunity which the government vigorously seeks to deny Congressman Fortenberry
12 here.)
13          Vouching remains yet another reason why AUSA Jenkins must be disqualified.
14
            C.   The government’s assertion that the motion to disqualify has an
15               improper purpose is baseless.
16          Congressman Fortenberry has moved to disqualify AUSA Jenkins to protect
17 Fortenberry’s constitutional rights to due process, confrontation, compulsory process, and
18 a fair trial. Fortenberry’s filing of this motion at the outset of the case, moreover, reflects
19 not gamesmanship, but due regard for the government’s resources, even as the
20 government tries to convict him of an alleged crime that AUSA Jenkins designed. Rather
21 than wait to raise the weighty ethical and constitutional issues presented by AUSA
22 Jenkins’s would-be advocacy through a motion in limine to be decided the week before
23 trial, when the government would be hard pressed to replace him, Congressman
24 Fortenberry asks the Court to resolve this dispute at the beginning of the case, alongside
25 his attacks on the pleadings. Cf. Prantil, 764 F.2d at 552 (“[T]he defendant’s request for
26 [the AUSA’s] recusal was made well in advance of trial. Even assuming that the
27 government had alleged hardship stemming from the substitution of alternate government
28 counsel, the defendant’s timely demand diminished, if not eliminated, any consequent
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1 inconvenience to the government's case.”). The government’s improper-purpose claim
2 lacks any merit.
3 III.     CONCLUSION
4          For these reasons, Congressman Fortenberry respectfully submits that the proper
5 course is to disqualify Mack Jenkins from participating in the trial other than as a witness.
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     Date: November 30, 2021              BIENERT KATZMAN
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